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                          BEFORE THE UNITED STATES JUDICIAL PANEL
                               ON MULTIDISTRICT LITIGATION




 IN RE: AT&T INC. CUSTOMER DATA
                                                         MDL Docket No. 3114
 SECURITY BREACH LITIGATION




                           NOTICE OF POTENTIAL TAG-ALONG ACTION

       In accordance with Rule 7.1(a) of the Rules of Procedure for the United States Judicial Panel on

Multidistrict Litigation, defendant AT&T, Inc., hereby notifies the Clerk of the potential tag-along actions

pending in federal district court and listed on the attached Schedule of Action:

       Orejudos, et al. v. AT&T Inc., No. 3:24-cv-01085 (N.D. Tex.)

       Ragland. v. AT&T Inc., No. 3:24-cv-01137 (N.D. Tex.)

       Head v. AT&T Inc., No. 3:24-cv-01144 (N.D. Tex.)

       Burris v. AT&T Inc., No. 3:24-cv-01208 (N.D. Tex.)

       Stephens, et al. v. AT&T, et al., No. 2:24-cv-0-373 (E.D. Tex.)

       The docket sheets and complaints are attached as exhibits.


Date: May 22, 2024                            Respectfully submitted,


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